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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      

										

EX PARTE: DANIEL RODRIGUEZ JR.     

                                                                                                                                     




On appeal from the County Court

of Wharton County, Texas.

                                                                                                                      


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Garza


Memorandum Opinion by Chief Justice Valdez
	


	Appellant, Daniel Rodriguez Jr., appeals the trial court's denial of his petition for a
writ of habeas corpus.  We dismiss for want of jurisdiction.

I. Background

	Rodriguez filed a post-conviction petition for writ of habeas corpus seeking to set
aside a 1992 misdemeanor conviction for driving while intoxicated ("DWI"), which the State
later used in 2007, to enhance a subsequent DWI to the level of a third-degree felony.  See
Tex. Penal Code Ann. § 49.04 (Vernon 2003), § 49.09(b) (Vernon Supp. 2009).  Rodriguez
expressly filed his habeas application under Texas Code of Criminal Procedure article
11.09.  See Tex. Code Crim. Proc. Ann. art. 11.09 (Vernon 2005) (providing that "[i]f a
person is confined on a charge of misdemeanor, he may apply to the county court judge
of the county in which the misdemeanor is charged . . . .").

	Without conducting an evidentiary hearing, the trial judge entered an order denying
Rodriguez's application for the writ without making any findings of fact or conclusions of
law.  The trial court's order stated, in pertinent part, "Having considered the pleadings and
exhibits, it is the order of the court that the application should be and hereby is DENIED." 
Rodriguez filed a notice of appeal.  Because it was unclear from the trial court's order
whether the trial court had considered the merits of Rodriguez's application, we abated the
appeal and requested that the trial court make findings and conclusions addressing
whether it had ruled on the merits.  Without conducting a hearing, the trial court found:
"That the [c]ourt determined from the facts stated in the application and the documents on
file that the appellant was manifestly not entitled to any relief and that no hearing on the
merits of the claim was necessary; therefore[,] there was no hearing on the merits of the
application[.]" (1)

II. Jurisdiction

	The State moves to dismiss the appeal for want of jurisdiction.  As a general rule,
no appeal lies from a trial court's refusal to issue a writ of habeas corpus.  Ex parte Noe,
646 S.W.2d 230, 231 (Tex. Crim. App. 1983); Ex parte Gonzales, 12 S.W.913, 914 (Tex.
App.-Austin 2000, pet. ref'd); see also Ex parte Reveles, No. 13-06-00143-CR, 2007 WL
2324002, at *1 (Tex. App.-Corpus Christi Aug. 16, 2007, no pet.) (mem. op., not
designated for publication).  However, if the trial court reaches the merits of a habeas
application, its ruling is appealable even if the trial court refused to issue the writ.  Ex parte
Hargett, 819 S.W.2d 866, 869 (Tex. Crim. App. 1991).  There is a distinction between the
issuance of a writ of habeas corpus and determining the merits of the habeas corpus claim. 
See id.; Ex parte Williams, 200 S.W.3d 819, 820 n.2 (Tex. App.-Beaumont 2006, no pet.);
see also Cid v. State, No. 13-00-325-CR, 2001 WL 1002481, at *2 (Tex. App.-Corpus
Christi June 21, 2001, no pet.) (not designated for publication).  

The writ is an order directed to anyone having a person in custody to
produce the person at a time and place stated in the order, and to show why
the person is held in custody.  The trial court must grant the writ without
delay unless it is manifest from the application, or some document annexed
to it, that the party is entitled to no relief whatsoever.  When a court decides
the merits of the application, the court is considered to have issued the writ
and has rendered a final judgment in the separate habeas corpus action.


Ex parte Jagneaux, No. 09-10-00160-CR, 2010 WL 2163779, at *1 (Tex. App.-Beaumont
May 26, 2010, no pet.) (internal citations omitted).

	The trial court denied Rodriguez's application for a writ of habeas corpus without
holding a hearing.  However, a trial court's failure to explicitly issue a writ or hold a hearing
on the merits of the applicant's claim is "inconsequential" "because, an 'appeal can be had
from a district court order denying an applicant relief on the merits of his claims.'"
Villanueva v. State, 252 S.W.3d 391, 394 (Tex. Crim. App. 2008) (quoting Ex parte
Hargett, 819 S.W.2d at 868-69).  Thus, we must determine whether the trial court reached
the merits of Rodriguez's habeas corpus application.  See Ex parte Hargett, 819 S.W.2d
at 869.

   	In Ex parte Hargett, the trial court in which habeas corpus relief was sought issued
an order in which it refused to issue the writ; however, the order then addressed the merits
of each allegation contained in the writ application and found each to be without merit.  Id.
at 868.  The Court of Criminal Appeals held that jurisdiction was conferred upon the Austin
Court of Appeals because, although the trial court refused to issue the writ, it ruled on the
merits of the application.  Id. at 869.

	Here, however, the trial court's order, coupled with its findings of fact, does not
expressly set forth any rulings by the trial court on the substantive merits of Rodriguez's
claims of relief.  Moreover, our sister courts have held that "even where it is likely that the
trial court's decision not to issue the writ was based, at least in part, on a determination that
appellant's claims lacked merit, that alone does not entitle the appellant to an appeal."  Ex
parte Pool, 71 S.W.3d 462, 465 (Tex. App.-Tyler 2002, no pet.); Ex parte Miller, 931
S.W.2d 724, 725 (Tex. App.-Austin 1996, no pet.); see also Ex parte Florance, No. 05-10-00688-CR, 2010 WL 2927487, at *1 (Tex. App.-Dallas July 28, 2010, no pet. h.) (mem.
op., not designated for publication).  Because the trial court did not consider and resolve
the merits of Rodriguez's habeas corpus application, we lack appellate jurisdiction.  See
Ex parte Hargett, 819 S.W.2d at 868-69; see also Cid, 2001 WL 1002481, at *2 (holding
that no appellate jurisdiction exists where the trial court record is devoid of rulings on the
substantive merits of the habeas corpus application).  

III. Conclusion

	We dismiss Rodriguez's appeal for want of jurisdiction.



							                                            

							ROGELIO VALDEZ

							Chief Justice


Do not publish. 

Tex. R. App. P. 47.2(b).

Delivered and filed the

23rd day of August, 2010.	


									
1.  After the trial court filed its findings of fact and conclusions of law, Rodriguez filed a document with
this Court entitled, "Objection to the Trial Court's Findings of Fact and Conclusion of Law."  We deny all relief
sought in that document.


